     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 1 of 19 Page ID #:1




 1   LAW OFFICES OF RONALD A. MARRON
     RONALD A. MARRON (SBN 175650)
 2   ron@consumersadvocates.com
     ALEXIS M. WOOD (SBN 270200)
 3   alexis@consumersadvocates.com
 4   KAS L. GALLUCCI (SBN 288709)
     kas@consumersadvocates.com
 5   651 Arroyo Drive
     San Diego, California 92103
 6   Telephone:(619) 696-9006
 7   Facsimile: (619) 564-6665
 8
 9   Attorneys for Plaintiff and the Proposed Classes

10
                   UNITED STATES DISTRICT COURT
11
         CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
12
     MICAH WATKINS, on behalf of                   Case No.:
13   herself, and all others similarly situated,
14                                                 CLASS ACTION
                         Plaintiff,
15                                                 COMPLAINT FOR DAMAGES
16         v.                                      AND INJUNCTIVE RELIEF
                                                   PURSUANT TO THE
17   TAX RISE, INC.                                TELEPHONE CONSUMER
                                                   PROTECTION ACT, 47 U.S.C. §§
18                       Defendant.                227 et seq.
19
                                                   DEMAND FOR JURY TRIAL
20
21
22
23
24
25
26
27
28


                                   Watkins v. Tax Rise, Inc.
                                CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 2 of 19 Page ID #:2




 1                                     INTRODUCTION
 2         Plaintiff Micah Watkins (“Plaintiff”) brings this Class Action Complaint for
 3   damages, injunctive relief, and any other available legal or equitable remedies,
 4   resulting from the illegal actions of Defendant Tax Rise, Inc. (“Tax Rise” or
 5   “Defendant”), in negligently, and/or willfully contacting Plaintiff through phone
 6   calls and text messages on Plaintiff’s cellular telephone, in violation of the
 7   Telephone Consumer Protection Act, 47 U.S.C. §§ 227 et seq., (“TCPA”), thereby
 8   invading Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge
 9   as to her own acts and experiences and, as to all other matters, upon information and
10   belief, including investigation conducted by her attorneys.
11                                NATURE OF THE ACTION
12         1.     The TCPA strictly forbids nuisance phone calls and text messages
13   exactly like those alleged in this Complaint – intrusive phone calls and text messages
14   to private cellular phone, placed to numbers obtained without the prior express
15   consent of the recipients.
16         2.     In a misguided effort to solicit business, Tax Rise routinely contacts
17   individuals through mass telephone campaigns and text messaging with automatic
18   telephone dialing equipment. However, Tax Rise regularly makes these phone calls
19   and sends these text messages to cellular telephones, without consent, let alone prior
20   express written consent, in violation of the TCPA.
21         3.     Tax Rise’s violations caused Plaintiff and members of the Classes to
22   experience actual harm, included aggravation, nuisance, and invasion of privacy that
23   necessarily accompanies the receipt of unsolicited and harassing phone calls and text
24   messages, as well as the violation of their statutory rights.
25         4.     Plaintiff and members of the Classes suffered a concrete injury in fact,
26   whether tangible or intangible, that is directly traceable to Defendant’s conduct, and
27   is likely to be redressed by a favorable decision in this action.
28

                                                1
                                    Watkins v. Tax Rise, Inc.
                                  CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 3 of 19 Page ID #:3




 1           5.   Plaintiff seeks an injunction stopping Tax Rise from making unsolicited
 2   phone calls and from sending unsolicited text messages, as well as an award of
 3   statutory damages under the TCPA, together with costs and reasonable attorneys’
 4   fees.
 5                             JURISDICTION AND VENUE
 6           6.   This Court has federal question subject matter jurisdiction under 28
 7   U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act,
 8   47 U.S.C. § 227 et seq., a federal statute. Mims v. Arrow Financial Services, LLC,
 9   132 S.Ct. 740, 751-53 (2012). Jurisdiction is also proper under 28 U.S.C. §
10   1332(d)(2) because Plaintiff seeks up to $1,500 in damages for each call in violation
11   of the TCPA, which, when aggregated among a proposed class number in the tens
12   of thousands, exceeds the $5,000,000 threshold for federal court jurisdiction.
13   Further, Plaintiff alleges national classes, which will result in at least one class
14   member belonging to a different state than that of the Defendant, providing
15   jurisdiction under 28 U.S.C. § 1332(d)(2)(A). Therefore, both elements of diversity
16   jurisdiction under the Class Action Fairness Act of 2005 (“CAFA”) are present, and
17   this Court has jurisdiction.
18           7.   The Court has personal jurisdiction over Defendant and venue is proper
19   in this District because Defendant has its principal place of business located at 19900
20   MacArthur Boulevard, No. 280, Irvine, California 92612, Defendant transacts
21   significant amounts of business within this District, and the conduct and events
22   giving rise to the claims occurred in this District.
23                                         PARTIES
24           8.   Plaintiff Micah Watkins is, and at all times mentioned was, a resident
25   of the State of Pennsylvania. She is, and at all times mentioned herein, was a
26   “person” as defined by 47 U.S.C. § 153 (39).
27
28

                                              2
                                  Watkins v. Tax Rise, Inc.
                                CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 4 of 19 Page ID #:4




 1            9.    Defendant Tax Rise, Inc., is a California corporation, headquartered in
 2   Irvine, California, which provides tax resolution services. Tax Rise is a “person” as
 3   defined by 47 U.S.C. § 153 (39).
 4   THE TELEPHONE CONSUMERS PROTECTION ACT OF 1991 (“TCPA”)
 5                                   47 U.S.C. §§ 227 et seq.
 6            10.   In 1991, Congress enacted the Telephone Consumer Protection Act, 47
 7   U.S.C. § 227 (TCPA),1 in response to a growing number of consumer complaints
 8   regarding certain telemarketing practices.
 9            11.   The TCPA regulates, among other things, the use of automated
10   telephone equipment, or “autodialers.” Specifically, the plain language of section
11   227(b)(1)(A)(iii) prohibits the use of autodialers to make any call to a wireless
12   number in the absence of an emergency or the prior express consent of the called
13   party.2
14            12.   As recognized by the Federal Communication Commission (“FCC”)
15   and the Courts, a text message is a call under the TCPA. Satterfield v. Simon &
16   Schuster, Inc., 569 F.3d 946, 955 (9th Cir. 2009).
17            13.   According to findings by the Federal Communications Commission
18   (“FCC”), the agency Congress vested with authority to issue regulations
19   implementing the TCPA, such calls are prohibited because, as Congress found,
20   automated or prerecorded telephone calls are a greater nuisance and invasion of
21   privacy than live solicitation calls, and such calls can be costly and inconvenient.
22
23
24
25
     1
      Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394
26   (1991), codified at 47 U.S.C. § 227 (TCPA). The TCPA amended Title II of the
27   Communications Act of 1934, 47 U.S.C. §§ 201 et seq.
28   2
         47 U.S.C. § 227(b)(1)(A)(iii).

                                               3
                                   Watkins v. Tax Rise, Inc.
                                 CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 5 of 19 Page ID #:5




 1   The FCC also recognized that wireless customers are charged for incoming calls
 2   whether they pay in advance or after the minutes are used.3
 3         14.     One of the most bulk advertising methods employed by companies
 4   today involves the use of “Short Message Services” (or “SMS”), which is a system
 5   that allows for transmission and receipt of short text messages to and from wireless
 6   telephones.
 7         15.     SMS text messages are directed to a wireless device through a
 8   telephone number assigned to the device.          When an SMS text message is
 9   successfully transmitted, the recipient’s wireless phone alerts the recipient that a
10   message has been received. Because wireless telephones are carried on their
11   owner’s person, SMS text message are received virtually anywhere in the world.
12         16.     Unlike   more     conventional     advertisements,    SMS      message
13   advertisements can actually cost their recipients money because wireless phone users
14   must pay their wireless service providers either for each text message they receive
15   or incur a usage allocation deduction to their text messaging or data plan, regardless
16   of whether the message is authorized.
17         17.     Moreover, the transmission of an unsolicited SMS text message to a
18   cellular device is distracting and aggravating to the recipient; intrudes upon the
19   recipient’s seclusion; wastes a quantifiable amount of available data on the
20   recipient’s cellular device, thereby reducing its data storage capacity; temporarily
21   reduces the available computing power and application processing speed on the
22   recipient’s device; diminishes the available battery power which shortens the battery
23   life; and requires expending a quantifiable amount of energy (electricity) to recoup
24   the battery power lost as a result of receiving such a message.
25
26
27   3
      In Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18
28   FCC Rcd. 14014 (2003) (“2003 TCPA Order”).

                                             4
                                 Watkins v. Tax Rise, Inc.
                               CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 6 of 19 Page ID #:6




 1         18.    The TCPA makes it “unlawful for any person within the United States
 2   ... (A) to make any call (other than a call made for emergency purposes or made with
 3   the prior express consent of the called party) using any automatic telephone dialing
 4   system or an artificial or prerecorded voice ... (iii) to any telephone number assigned
 5   to a ... cellular telephone service.” 47 U.S.C. § 227(b)(1)(A)(iii).
 6         19.    “A person or entity” can bring a claim to recover the greater of actual
 7   damages or $500 for a violation of § 227(b)(1)(A)(iii). Id. § 227(b)(3). A court may
 8   award treble damages for a willful or knowing violation. Id.
 9         20.    The TCPA defines “automatic telephone dialing systems” (ATDS) as
10   follows: (1) The term ‘automatic telephone dialing system’ means equipment which
11   has the capacity—(A) to store or produce telephone numbers to be called, using a
12   random or sequential number generator; and (B) to dial such numbers. See Pub. L.
13   No. 102-243, § 227, 105 Stat. 2394, 2395.
14         21.    “[T]he statutory definition of ATDS is not limited to devices with the
15   capacity to call numbers produced by a “random or sequential number generator,”
16   but also includes devices with the capacity to dial stored numbers automatically.”
17   Marks v. Crunch San Diego, LLC, 904 F.3d 1041, 1052 (9th Cir. 2018).
18         22.    Prior express consent is an affirmative defense on which Defendant
19   bear the burden of proof. The type of consent required depends on the content of
20   the message. If the message contains advertising or is telemarketing, the sender must
21   have secured, prior to sending the message, the signature of the recipient in a written
22   agreement that includes several specified disclosures. See 47 C.F.R. § 64.1200(f)(8).
23         23.    As of October 16, 2013, express written consent is required to make
24   any such telemarketing calls.4 The express written consent must be signed and be
25   sufficient to show the consumer received clear and conspicuous disclosure of the
26
27   4
      In Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 FCC
28   Rcd. 1830, 1837 ¶ 18, 1839 ¶ 20, 1858 ¶ 71 (2012) (“2012 FCC Order”).

                                              5
                                  Watkins v. Tax Rise, Inc.
                                CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 7 of 19 Page ID #:7




 1   significance of providing consent and must further unambiguously agree to receive
 2   future phone calls.5
 3                          COMMON FACTUAL ALLEGATIONS
 4           24.   Tax Rise provides tax resolution services.
 5           25.   Tax Rise places phone calls and sends text messages to consumers
 6   without having the necessary prior express written consent to do so in violation of
 7   the TCPA.
 8           26.   One consumer complaint on the Better Business Bureau website, dated
 9   May 18, 2019, states, “I have been solicited by this company no less than 5 times.
10   Every time they contracted me, I asked to be removed. I have asked no less than 5
11   times for a copy of the opt in records. I have never received them. Now they have
12   sent solicitations to not only me, but my wife and 11yr old child. This has been
13   going on for more than a year.”        https://www.bbb.org/us/ca/irvine/profile/tax-
14   negotiators/tax-rise-inc-1126-172021357/complaints (last visited on January 3,
15   2020).
16           27.   Another consumer complaint on the Better Business Bureau website,
17   dated May 2, 2019, states “Due to your lack of knowledge of the law on this matter,
18   and your refusal to stop spoofing Caller ID information, I have sent a formal
19   complaint to the FCC.” Id.
20           28.   Another consumer complaint on the Better Business Bureau website,
21   dated February 26, 2019, states “THIS COMPANY HAS CALLED ME
22   REPEATEDLY (AT LEAST 5 TIMES) AND ALTHOUGH I HAVE BEEN
23   ASKED TO BE REMOVED FROM THEIR CALL LIST THEY CONTINUE TO
24   CALL AT ALL HOURS OF THE DAY AND NIGHT. IN ADDITION I AM ON
25   THE NO CALL LIST!” Id.
26
27
28   5
         2012 FCC Order at 1844 ¶ 13.

                                             6
                                 Watkins v. Tax Rise, Inc.
                               CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 8 of 19 Page ID #:8




 1         29.       Another consumer complaint on the Better Business Bureau website,
 2   dated September 25, 2018, states “I should begin by saying that I am a consumer
 3   advocate by trade, and am thus, quite familiar with the Telephone Consumer
 4   Protection Act, and the Telemarking Sales Rule, including the statutory penalties
 5   made available by private rights of action for both……I have been receiving a
 6   number of unsolicited calls and text messages from this company, trying to solicit
 7   their services. At no point did I ever request contact from them, or give the express,
 8   prior, written consent request by federal law from them to contact me with the
 9   automated dialing systems that they are using to make these solicitations…. I am
10   committed to seeing to it that these call and text messages stop. Not only to me, but
11   to the thousands of other people who are relentlessly annoyed with this type of
12   marketing….” Id.
13         30.       Tax Rise makes these unsolicited phone calls and places these
14   unsolicited text message calls using equipment that has the capacity to store or
15   produce telephone numbers, and to dial such numbers, without any need for human
16   intervention.
17         31.       These unsolicited phone calls and text messages placed to wireless
18   telephones were placed via an “automatic telephone dialing system,” (“ATDS”) as
19   defined by 47 U.S.C. § 227 (a)(1) and by using “an artificial or prerecorded voice”
20   system as prohibited by 47 U.S.C. § 227 (b)(1)(A), which had the capacity to
21   produce or store numbers randomly or sequentially, and to dial such numbers, to
22   place phone calls and text messages to consumers’ cellular telephone.
23         32.       The TCPA was intended to give individuals control over how and
24   where they receive calls and text messages. When Tax Rise places phone calls and
25   text message calls to consumers without their consent, it fails to address or respect
26   the limitations imposed by the TCPA. In doing so, it takes control away from the
27   consumers and violates both the spirit and the letter of the TCPA.
28

                                              7
                                  Watkins v. Tax Rise, Inc.
                                CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 9 of 19 Page ID #:9




 1           33.   Under the TCPA and pursuant to the FCC’s January 2008 Declaratory
 2   Ruling, the burden is on Defendant to demonstrate that Plaintiff provided express
 3   consent within the meaning of the statute.
 4                           FACTS SPECIFIC TO PLAINTIFF
 5           34.   On or around November 2019, Plaintiff began receiving unsolicited
 6   promotions phone calls from Tax Rise from the number 717-536-4567, and other
 7   local 717 phone numbers, to her wireless phone ending in the number 6648, for
 8   which Plaintiff provided no consent to call, in an attempt to solicit her business.
 9           35.   The phone calls Plaintiff received featured an automated voice.
10           36.   During one of the calls Plaintiff pressed one to be connected to a live
11   representative who informed that the robocalls were from a company called Tax
12   Rise.
13           37.   On or around November 5, 2019, Plaintiff also began receiving
14   unsolicited, promotional text messages from Tax Rise to her wireless phone ending
15   in the number 6648, for which Plaintiff provided no consent to text, in an attempt to
16   solicit her business.
17           38.   Defendant utilized the SMS Code 675-63 to send promotional text
18   messages to Plaintiff. This number is owned or leased by Tax Rise.
19           39.   The unsolicited phone calls and text messages Tax Rise sent to Plaintiff
20   on her mobile telephone were solicitations for tax relief services.
21           40.   On November 5, 2019, Plaintiff received the following unsolicited text
22   message from Tax Rise:
23                 Tax Rise: Find out why we are the fastest growing tax relief company
24                 in the US. Call 949-503-0018 to start working with a qualified tax
25                 specialist.
26
27
28

                                               8
                                   Watkins v. Tax Rise, Inc.
                                 CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 10 of 19 Page ID #:10




 1          41.    On November 21, 2019, Plaintiff received the following unsolicited
 2    text message from Tax Rise:
 3                 Hello, you are still looking to apply for government aid for your tax
 4                 dues? Please give me a call at 949-503-0018. Reply out to opt out.
 5          42.    On November 27, 2019, Plaintiff received the following unsolicited
 6    text message from Tax Rise:
 7                 Thanksgiving is around the corner! Call 949-503-0053 have a worry
 8                 free holiday knowing your taxes are taken care of. Reply out to opt out.
 9          43.    Plaintiff has never done business with Defendant and has never
10    provided Defendant her phone number or consented to phone calls or text message
11    calls from Defendant on her mobile telephone.
12          44.    These unsolicited and promotional phone calls and text messages
13    placed to Plaintiff’s mobile telephone were placed via an “automatic telephone
14    dialing system,” (“ATDS”) as defined by 47 U.S.C. § 227 (a)(1), which had the
15    capacity to produce or store numbers randomly or sequentially, and to place
16    telephone calls and/or text message calls to Plaintiff’s cellular telephone by dialing
17    such numbers.
18          45.    The unsolicited and promotional text messages placed to Plaintiff’s
19    mobile telephone also featured a prerecorded voice as the text messages were pre-
20    populated with uniform text.
21          46.    The telephone number that Defendant, or its agents, called and texted
22    was assigned to a cellular telephone service for which Plaintiff incurred a charge for
23    incoming calls pursuant to 47 U.S.C. § 227 (b)(1).
24          47.    These phone calls and text messages constitute calls that were not for
25    emergency purposes as defined by 47 U.S.C. § 227(b)(1)(A)(i).
26          48.    Plaintiff did not provide Defendant or its agents prior express consent
27    to receive unsolicited phone calls or unsolicited text messages pursuant to 47 U.S.C.
28    § 227 (b)(1)(A) and/or has revoked any alleged prior express consent.

                                              9
                                  Watkins v. Tax Rise, Inc.
                                CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 11 of 19 Page ID #:11




 1          49.    These phone calls and text messages by Defendant or its agents
 2    therefore violated 47 U.S.C. § 227(b)(1).
 3                            CLASS ACTION ALLEGATIONS
 4          50.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
 5    23(b)(2) and 23(b)(3) on behalf of herself and on behalf of and all others similarly
 6    situated (“the Classes”).
 7          51.    Phone Call Class: Plaintiff represents, and is a member of the Phone
 8    Call Class, consisting of all persons within the United States who received any
 9    unsolicited, promotional phone calls from Defendant or its agents on their cellular
10    telephones through the use of any automatic telephone dialing system as set forth in
11    47 U.S.C. § 227(b)(1)(A)(3) or featuring prerecorded voice messages, which phone
12    calls by Defendant or its agents were not made for emergency purposes or with the
13    recipients’ prior express consent, within four years prior to the filing of this
14    Complaint through the date of final approval.
15          52.    Text Message Class: Plaintiff represents, and is a member of the Text
16    Message Class, consisting of all persons within the United States who received any
17    unsolicited, promotional text message from Defendant or its agents on their cellular
18    telephones through the use of any automatic telephone dialing system as set forth in
19    47 U.S.C. § 227(b)(1)(A)(3) or featuring prerecorded voice messages, which text
20    messages by Defendant or its agents were not made for emergency purposes or with
21    the recipients’ prior express consent, within four years prior to the filing of this
22    Complaint through the date of final approval.
23          53.    Defendant and its employees or agents are excluded from the Classes.
24    Plaintiff does not know the number of members in the Classes, but believes members
25    number in the hundreds of thousands, if not more. Thus, this matter should be
26    certified as a Class action to assist in the expeditious litigation of this matter.
27          54.    Plaintiff and members of the Classes were harmed by the acts of
28    Defendant in at least the following ways: Defendant, either directly or through its

                                                10
                                    Watkins v. Tax Rise, Inc.
                                  CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 12 of 19 Page ID #:12




 1    agents, illegally contacted Plaintiff and members of the Classes via their cellular
 2    telephones by using unsolicited promotional phone calls and text messages, thereby
 3    causing Plaintiff and members of the Classes to incur certain cellular telephone
 4    charges or reduce cellular telephone time for which Plaintiff and members of the
 5    Classes previously paid, and invading the privacy of said Plaintiff and the members
 6    of the Classes. Plaintiff and the members of the Classes were damaged thereby.
 7          55.      This suit seeks only statutory damages and injunctive relief for on
 8    behalf of the Classes and it expressly is not intended to request any recovery for
 9    personal injury and claims related thereto. Plaintiff reserves the right to expand the
10    Class definitions to seek recovery on behalf of additional persons as warranted as
11    facts are learned in further investigation and discovery.
12          56.      The joinder of the members of the Classes are impractical and the
13    disposition of their claims in the Class action will provide substantial benefits both
14    to the parties and to the Court. The Classes can be identified through Defendant’s
15    records or Defendant’s agents’ records.
16          57.      There is a well-defined community of interest in the questions of law
17    and fact involved affecting the parties to be represented. The questions of law and
18    fact to the Classes predominate over questions which may affect individual members
19    of the Classes, including the following:
20                a. Whether, within the four years prior to the filing of this Complaint
21                   through the date of final approval, Defendant or its agents made
22                   promotional phone calls without the recipients’ prior express consent
23                   (other than a text message made for emergency purposes or made with
24                   the prior express consent of the called party) to a Phone Call Class
25                   member using any automatic telephone dialing system, to any
26                   telephone number assigned to a cellular telephone service;
27                b. Whether, within the four years prior to the filing of this Complaint
28                   through the date of final approval, Defendant or its agents sent

                                               11
                                   Watkins v. Tax Rise, Inc.
                                 CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 13 of 19 Page ID #:13




 1                   promotional text messages without the recipients’ prior express consent
 2                   (other than a text message made for emergency purposes or made with
 3                   the prior express consent of the called party) to a Text Message Class
 4                   member using any automatic telephone dialing system, to any
 5                   telephone number assigned to a cellular telephone service;
 6                c. Whether the equipment Defendant, or its agents, used to make the
 7                   phone calls in question was an automatic telephone dialing system as
 8                   contemplated by the TCPA;
 9                d. Whether the equipment Defendant, or its agents, used to send the text
10                   messages in question was an automatic telephone dialing system as
11                   contemplated by the TCPA;
12                e. Whether Defendant, or its agents, systematically made promotional
13                   phone calls to persons who did not previously provide Defendant with
14                   their prior express consent to receive such phone calls;
15                f. Whether Defendant, or its agents, systematically sent promotional text
16                   messages to persons who did not previously provide Defendant with
17                   their prior express consent to receive such text messages;
18                g. Whether Plaintiff and the Classes were damaged thereby, and the extent
19                   of damages for such violation; and
20                h. Whether Defendant and its agents should be enjoined from engaging in
21                   such conduct in the future.
22          58.      As a person that received at least one unsolicited promotional phone
23    call and one unsolicited promotional text message to her cellular telephone without
24    prior express contest, Plaintiff is asserting claims that are typical of the Classes.
25    Plaintiff will fairly and adequately represent and protect the interests of the Classes
26    in that Plaintiff has no interest antagonistic to any member of the Classes.
27          59.      Plaintiff and the members of the Classes have all suffered irreparable
28    harm as a result of the Defendant’s unlawful and wrongful conduct. Absent a class

                                                12
                                    Watkins v. Tax Rise, Inc.
                                  CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 14 of 19 Page ID #:14




 1    action, the Classes will continue to face the potential for irreparable harm. In
 2    addition, these violations of law will be allowed to proceed without remedy and
 3    Defendant will likely continue such illegal conduct. Because of the size of the
 4    individual Class member’s claims, few, if any, members of the Classes could afford
 5    to individually seek legal redress for the wrongs complained of herein.
 6          60.    A class action is a superior method for the fair and efficient adjudication
 7    of this controversy because joinder of all parties is impracticable. Class-wide
 8    damages are essential to induce Defendant to comply with federal law. The interest
 9    of members of the Classes in individually controlling the prosecution of separate
10    claims against Defendant is small because the maximum statutory damages in an
11    individual action for violation of privacy are minimal, especially given the burden
12    and expense of individual prosecution of the complex litigation necessitated by
13    Defendant’s actions. Thus, it would be virtually impossible for the individual
14    members of the Classes to obtain effective relief from Defendant’s misconduct. Even
15    if members of the Classes could sustain such individual litigation, it would still not
16    be preferable to a class action because individual litigation would increase the delay
17    and expense to all parties due to the complex legal and factual controversies
18    presented in this Complaint. By contrast, a class action presents far fewer
19    management difficulties and provides the benefits of single adjudication, economy
20    of scale, and comprehensive supervision by a single Court. Economies of time, effort
21    and expense will be fostered and uniformity of decisions ensured.
22          61.    Defendant has acted on grounds generally applicable to the Classes,
23    thereby making appropriate final injunctive relief and corresponding declaratory
24    relief with respect to the Classes as a whole.
25
26
27
28

                                              13
                                  Watkins v. Tax Rise, Inc.
                                CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 15 of 19 Page ID #:15




 1                                          COUNT 1
 2                         NEGLIGENT VIOLATIONS OF THE TCPA
                                         47 U.S.C. §§ 227 ET SEQ.
 3
 4          62.    Plaintiff incorporates by reference all of the above paragraphs of this
 5    Complaint as though fully stated herein.
 6          63.    Each such telephone call was made using equipment that, upon
 7    information and belief, had the capacity to store or produce telephone numbers to be
 8    called, using a random or sequential number generator, and to dial such numbers.
 9    By using such equipment, Defendant was able to effectively make thousands of
10    phone calls simultaneously to lists of thousands of wireless phone numbers of
11    consumers without human intervention. These telephone calls were made without
12    the prior express consent of the Plaintiff and other members of the Phone Call Class
13    to receive such telephone calls.
14          64.    Defendant made unauthorized automated text message calls using an
15    automatic telephone dialing system or prerecorded voice to the cellular telephone
16    number of Plaintiff and the other members of the Text Message Class without their
17    prior express written consent.
18          65.    These text message calls were made en masse using equipment that,
19    upon information and belief, had the capacity to store or produce telephone numbers
20    to be called, using a random or sequential number generator, and to dial such
21    numbers. By using such equipment, Defendant was able to send thousands of text
22    messages simultaneously to thousands of consumers’ cellphones without human
23    intervention. These text messages are analogous to a prerecorded voice made
24    without the prior express consent of the Plaintiff.
25          66.    The foregoing acts and omissions of Defendant and its agents constitute
26    multiple negligent violations of the TCPA, including but not limited to each and
27    every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
28

                                              14
                                  Watkins v. Tax Rise, Inc.
                                CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 16 of 19 Page ID #:16




 1          67.    As a result of Defendant’s, and Defendant’s agents’, negligent
 2    violations of 47 U.S.C. § 227 et seq., Plaintiff is entitled to an award of $500.00 in
 3    statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 4    227(b)(3)(B).
 5          68.    Plaintiff is also entitled to and seek injunctive relief prohibiting such
 6    conduct in the future.
 7                                         COUNT 2
 8                KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
 9                                 47 U.S.C. §§ 227 ET SEQ.
10          69.    Plaintiff incorporates by reference paragraphs 1-61 of this Complaint
11    as though fully stated herein.
12          70.    Each such telephone call was made using equipment that, upon
13    information and belief, had the capacity to store or produce telephone numbers to be
14    called, using a random or sequential number generator, and to dial such numbers.
15    By using such equipment, Defendant was able to effectively make thousands of
16    phone calls simultaneously to lists of thousands of wireless phone numbers of
17    consumers without human intervention. These telephone calls were made without
18    the prior express consent of the Plaintiff and other members of the Phone Call Class
19    to receive such telephone calls.
20          71.    Defendant made unauthorized automated text message calls using an
21    automatic telephone dialing system or prerecorded voice to the cellular telephone
22    number of Plaintiff and the other members of the Text Message Class without their
23    prior express written consent.
24          72.    These text message calls were made en masse using equipment that,
25    upon information and belief, had the capacity to store or produce telephone numbers
26    to be called, using a random or sequential number generator, and to dial such
27    numbers. By using such equipment, Defendant was able to send thousands of text
28    messages simultaneously to thousands of consumers’ cellphones without human

                                              15
                                  Watkins v. Tax Rise, Inc.
                                CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 17 of 19 Page ID #:17




 1    intervention. These text messages are analogous to a prerecorded voice made
 2    without the prior express consent of the Plaintiff.
 3          73.    The foregoing acts and omissions of Defendant constitutes multiple
 4    knowing and/or willful violations of the TCPA, including but not limited to each and
 5    every one of the above-cited provisions of 47 U.S.C. §§ 227 et seq.
 6          74.    As a result of Defendant’s knowing and/or willful violations of 47
 7    U.S.C. § 227 et seq., Plaintiff and the Classes are entitled to treble damages, as
 8    provided by statute, up to $1,500.00, for each and every violation, pursuant to 47
 9    U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
10          75.    Plaintiff and the Classes are also entitled to and seek injunctive relief
11    prohibiting such conduct in the future.
12                                 PRAYER FOR RELIEF
13    Wherefore, Plaintiff respectfully requests the Court to grant Plaintiff and the
14    Classes the following relief against Defendant:
15                FIRST COUNT FOR NEGLIGENT VIOLATION OF THE TCPA
16                                  47 U.S.C. §§ 227 ET SEQ.
17          76.    As a result of Defendant’s, and Defendant’s agents’, negligent
18    violations of 47 U.S.C. § 227(b)(1), Plaintiff seeks for herself and each Phone Call
19    Class member and each Text Message Class member $500.00 in statutory damages,
20    for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
21          77.    Pursuant to 47 U.S.C. § 227(b)(3)(A), Plaintiff seeks injunctive relief
22    prohibiting such conduct in the future.
23      SECOND COUNT FOR KNOWING AND/OR WILLFUL VIOLATION OF THE TCPA
24                                  47 U.S.C. §§ 227 ET SEQ.
25          78.    As a result of Defendant’s, and Defendant’s agents’, willful and/or
26    knowing violations of 47 U.S.C. § 227(b)(1), Plaintiff seeks for herself and each
27    Phone Call Class member and each Text Message Class member treble damages, as
28

                                              16
                                  Watkins v. Tax Rise, Inc.
                                CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 18 of 19 Page ID #:18




 1    provided by statute, up to $1,500.00 for each and every violation, pursuant to 47
 2    U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 3          79.    Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
 4    conduct in the future.
 5                                            ***
 6          80.    Any other relief the Court may deem reasonable, just and proper.
 7                                      JURY DEMAND
 8           Plaintiff hereby demands a trial by jury on all issues so triable.
 9
10                             DOCUMENT PRESERVATION DEMAND
11          Plaintiff hereby demands that Defendant take affirmative steps to preserve all
12     text messages, recordings, data, emails, documents and all other tangible things that
13     relate to the allegations herein, Plaintiff or the putative class members, or the
14     sending of text messages, the events described herein, any third party associated
15     with any telephone call, campaign, account, sale or file associated with Plaintiff or
16     the account in question, and any account or number or symbol relating to any of
17     them. These materials are very likely relevant to the litigation of this claim. If
18     Defendant is aware of any third party that has possession, custody or control of any
19     such materials, Plaintiff demands that Defendant request that such third party also
20     take steps to preserve the materials, and notify the undersigned of the circumstances
21     immediately so that counsel may take appropriate action. This demand shall not
22     narrow the scope of any independent document preservation duties of Defendant.
23
24
25    Dated: January 7, 2020                  s/ Kas L. Gallucci
                                              By: Kas L. Gallucci
26                                            LAW OFFICES OF RONALD A.
27                                            MARRON
                                              RONALD A. MARRON
28                                            ALEXIS M. WOOD
                                               17
                                   Watkins v. Tax Rise, Inc.
                                 CLASS ACTION COMPLAINT
     Case 8:20-cv-00029-JVS-KES Document 1 Filed 01/07/20 Page 19 of 19 Page ID #:19




 1                                       KAS L. GALLUCCI
                                         651 Arroyo Drive
 2                                       San Diego, California 92103
 3                                       Telephone: (619) 696-9006
                                         Facsimile: (619) 564-6665
 4
 5                                       Attorneys for Plaintiff
                                         and the Proposed Classes
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           18
                               Watkins v. Tax Rise, Inc.
                             CLASS ACTION COMPLAINT
